                    United States District Court
               for the Southern District of New York

 Nicholas Magalios,
                                                 Docket No. 7:19-cv-06188 (CS)
                      Plaintiff,

      v.                                               Notice of Appeal

 C.O. Mathew Peralta,
 C.O. Timothy Bailey,
 and C.O. Edward Blount,

                      Defendants.

      Notice is hereby given that Nicholas Magalios, plaintiff in the above-named

case, hereby appeals to the United States Court of Appeals for the Second Circuit

from an opinion and order of the district court, entered in this action on the 10th

day of February, 2022 (ECF No. 56), only to the extent that the district court’s

denial of defendants’ motion for a new trial on the issue of punitive damages

(ECF No. 45) was conditioned on plaintiff accepting a reduced punitive damages

award.


Dated: New York, New York
       March 12, 2022

                                              Sivin, Miller & Roche LLP

                                              s/ Edward Sivin
                                              Edward Sivin
                                              Attorneys for Plaintiff
                                              20 Vesey Street, Suite 1400
                                              New York, NY 10007
                                              Telephone: (212) 349-0300
                                              E-mail: esivin@sivinandmiller.com
